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UNITED STATES DISTRICT COURT
ALBUQUERQUE, NEW MEXICO

IN THE UNITED STATES DISTRICT COURT FEB 27 2019
FOR THE DISTRICT OF NEW MEXICO MITCHELL R. ELFERS
CLERK

UNITED STATES OF AMERICA, )

IAS
Plaintiff, ) CRIMINAL NO. | —
)
VS. ) Counts 1-5: 18 U.S.C. § 1014: False

) Statement on a Loan or Credit

WILLIE LEE EDWARDS, ) Application
)

Defendant. )
INDICTMENT
The Grand Jury charges:

Count 1

On or about January 30, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, WILLIE LEE EDWARDS, did knowingly make a false statement on
a consumer credit application for the purpose of influencing the actions of Del Norte Credit
Union, an institution whose accounts are insured by the National Credit Union Administration.

In violation of 18 U.S.C. § 1014.
Count 2

On or about February 7, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, WILLIE LEE EDWARDS, did knowingly make a false statement on
a consumer credit application for the purpose of influencing the actions of State Farm Bank, an
institution whose accounts are insured by the Federal Deposit Insurance Corporation.

In violation of 18 U.S.C. § 1014.

 
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Count 3
On or about February 13, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, WILLIE LEE EDWARDS, did knowingly make a false statement on
a consumer credit application for the purpose of influencing the actions of Mountain America
Credit Union, an institution whose accounts are insured by the National Credit Union
Administration.
In violation of 18 U.S.C. § 1014.
Count 4
On or about February 21, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, WILLIE LEE EDWARDS, did knowingly make a false statement on
a consumer credit application for the purpose of influencing the actions of Sandia Area Federal
Credit Union, an institution whose accounts are insured by the National Credit Union
Administration.
In violation of 18 U.S.C. § 1014.
Count 5
On or about March 21, 2018, in Bernalillo County, in the District of New Mexico and
elsewhere, the defendant, WILLIE LEE EDWARDS, did knowingly make a false statement on
a consumer credit application for the purpose of influencing the actions of First Financial Credit
Union, an institution whose accounts are insured by the National Credit Union Administration.

In violation of 18 U.S.C. § 1014.

 
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A TRUE BILL:

/s/

FOREPERSON OF THE GRAND JURY

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